Case 1:23-mi-99999-UNA Document 2906-2 Filed 09/08/23 Page 1 of 4

Department of Homeland Security Fort m n 1-797C, Notice of Action

U. 5 Citizenship and Immigration Services

THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT.

NOTICE TYPE NOTIGE DATE
Receipt November 09, 2020
CASE TYPE USCIS ALIEN NUMBER
1-130, Petition for Alien Relative

RECEIPT NUMBER RECEIVED DATE PAGE

MSC2190 191840 October 05. 2020 lofl

PRIORITY DATE PREFERENCE CLASSIFICATION DATE OF BIRTH

October 05, 2020 201 B INA SPOUSE OF USC Oclober 30. 1987

PAYMENT INFORMATION:

DESMOND CD. MORGAN
595 RIVERSIDE PKWY APT 508 Application/Petition Fee: $535.00
AUSTELL, GA 30168 13 90003286 Total Amount Received: $535.00

Total Balance Due: $0.00

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APPLICANT/PETITIONER NAME AND MAILING ADDRESS

We have received your form and are currently processing the above case for the following beneficiaries:

Maine Date of Birth Country of Birth Class (If Applicable}
LUCKY, RACHAEL 9/8/1987 NIGERTA

If this notice contains a priority date, this priority does not reflect earlier retained priority dates. We will notify you separately
about any other case you filed.

If we determine you must submit biometrics, we will mail you a biometrics appointment notice with the (ime and place of your
appointment.

if you have questions or need to update your personal information listed above, please visil the USCIS Contact Center webpage at
seis. gov/coutactcenter to connect with a live USCIS representative in English or Spanish,

USCIS Office Address: USCIS Contact Center Number:
USCIS (800)375-5283
National Benefits Center APPLICANT COPY

P.O. Box 648003 |
Lee's Summit, MO 64002 |

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Case 1:23-mi-99999-UNA Document 2906-2 Filed 09/08/23 Page 2 of 4

Department of Romeland Security . :
US, Citizenship and Immigration Servi BF or m I-79 7C, N otice of Action

THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT,

NOTICE TYPE NOTICE BATE

Receipt November 09, 2020
OASE TYPE USCIS ALIEN NUMBER
I-130, Petition for Alien Relative

RECEIPT NUMBER RECEIVED DATE PAGE

MSC? 190191852 Oclober 05, 2020 lofi

PRIORITY DATE PREFERENCE CLASSIFICATION DATE OF BIRTH
October 05, 2020 201 B INA MINOR CHILD OF USC October 30, 1987

PAYMENT INFORMATION:

DESMOND BD. MORGAN
595 RIVERSIDE PKWY APT 508 AppHeation/FPetition Fee: $535.00
AUSTELL, GA 30168 13 90003360 Total Amount Received: $535.00

Total Balance Due: $0.00

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APPLICANT/PETITIONER NAME AND MAILING ADDRESS

We have received your form and are currently processing tlie above case for the following beneficiaries:

Nane Date of Birth Country of Birth Class (If Applicable}
LUCKY, DIVINE 9/10/2014 NIGERIA

If this nolice contains a priority date, this priority does not reflect earlier retained priority dates. We will notify you separately
about any other case you filed.

If we determine you must submit biometrics, we will mail you a biometrics appointment notice with the time and place of your
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USCIS Office Address: , USCIS Contact Center Number:
USCIS (800)375-5283
National Benefits Center APPLICANT COPY

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P.O. Box 648003 my
Lee's Summit, MO 64002 |

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Case 1:23-mi-99999-UNA Document 2906-2 Filed 09/08/23 Page 3 of 4

US, Citizenship and Immigration Services

Department of Homeland Security Form I-797C. Notice of Action
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THIS NOTICE DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT.

NOTICE TYPE NOTICE DATE
Receipt November 09, 2620
CASE TYPE USCIS ALIEN NUMBER
[-£30, Petition for Alien Relative

RECEIPT NUMBER RECEIVED DATE PAGE

MSC2 190191844 October 05, 2020 lofl

PRIORITY DATE PREFERENCE CLASSIFICATION DATE OF BIRTH
October 05, 2020 201 B INA MINOR CHILD OF USC October 30. 1987

PAYMENT INFORMATION;
DESMOND D. MORGAN

595 RIVERSIDE PKWY APT 558 Application/Petition Fee: $535.00
AUSTELL, GA 30168 13 00003293 Totat Amount Received: $535.00
‘Fofal Balance Due: $0.00

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APPLICANT/PEFITIONER NAME AND MAILING ADDRESS

We have received your form and are currently processing the above case for the following beneficiaries:

Name Date of Birth Country of Birth Class (If Applicable}
LUCKY, FAVOUR 4/7/2009 NIGERIA

If this notice contains a priority date, this priority does nol reflect earlier retained priority dates, We will notify you separately
about any other case you filed.

If we determine you must submit biometrics, we will mail you a biometrics appointment notice with the time and place of your
appointment,

If you have questions or need to update your personal information listed above, please visit the USCIS Contact Center webpage at
uscis.pov/contacicentur to connect with a live USCIS representative in English or Spanish.

USCIS Office Address: USCIS Contact Center Number:
USCIS (800}375-5283

National Benefits Center APPLICANT COPY

PO, Box 40 A

Lee's Summit, MO 64002

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Case 1:23-mi-99999-UNA Document 2906-2 Filed 09/08/23 Page 4 of 4

Department of Homeland Secur ity

Form 1-797C, Notice of Action

THIS NOTICE | DOES NOT GRANT ANY IMMIGRATION STATUS OR BENEFIT.

NOTICE TYPE NOTICE DATE
Receipt November 09, 2020
CASE TYPE USCIS ALIEN NUMBER

1-130, Petition for Alien Relalive

RECEIPT NUMBER RECEIVED DATE PAGE
MSC2 190 19 E848 Ocigber 05, 2020 loft
PRIORITY DATE PREFERENCE CLASSIFICATION DATE OF BIRTH

October 05, 2020

201 B INA MINOR CHILD OF USC

October 30, 1987

DESMOND D, MORGAN
595 RIVERSIDE PKWY APT 5038

AUSTELL, GA 30168

13 00003295

food bpogentfogeg gly eoel] pgp EyEynenaytyegten gt pg et Eee

APPLICANT/PETITIONER NAME AND MAILING ADDRESS

PAYMENT INFORMATION;

Application/Petition Fee: $535.00
Total Amount Received: 3535,00
Total Balance Due: $0.00

We have received your form and are currently processing the above case for the following beneficiaries:

Mame
LUCKY, ISTOMA

If this notice contains a priority date, this priority does not reflect earlier retained priority dates, We will notify you separately

aboul any other case you filed,

Hf we determine you must submit biometrics, we will mail you a biometrics appointment notice with the time and place of your

appointment.

If you have questions or need to update your personal information listed above, please visit the USCIS Contact Center webpage at

Date of Birth
12/5/2012

Country of Birth
SOUTH AFRICA

Class {If Applicable)

uscis pov/contacicenter to connect with a live USCIS representative in English or Spanish,

USCIS Office Address:
USCIS

National Benefits Center
P.O. Box 648003

Lee's Summil, MO 64002

USCIS Contact Center Number:

(800)375-5283
APPLICANT COPY

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